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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  TROY CLARK,                                      §
                                                   §
                         Movant-Petitioner,        §
                                                   §
                                                   §
               -VS-                                §    CIVIL NO. 2:03-CV-00357
                                                   §
                                                   §        *CAPITAL CASE*
                                                   §
  WILLIAM STEPHENS, Director,                      §
  Texas Department of Criminal Justice,            §
  Correctional Institutions Division,              §
                                                   §
                    Respondent.                    §
  __________________________________

                                ______________________________

                 MOTION FOR RELIEF FROM JUDGMENT PURSUANT TO
                RULE 60 OF THE FEDERAL RULES OF CIVIL PROCEDURE

         Pursuant to Federal Rule of Civil Procedure 60(b)(6), Petitioner Troy Clark requests

  relief from the Court’s opinion and final judgment granting Respondent’s motion for summary

  judgment and denying him relief on his petition for writ of habeas corpus. Mem. Op., ECF No.

  21.

         In his petition, Clark, through then-counsel Craig Henry, claimed that his trial counsel

  had provided him ineffective assistance by failing to investigate or present mitigating evidence.

  Pet. Writ Habeas Corpus 4-22, ECF No. 4. The ineffectiveness claim raised in federal court was

  virtually identical to the claim that had been raised by Henry – who also represented Clark

  during state habeas proceedings – to the Texas Court of Criminal Appeals (CCA). As will be

  discussed at greater length in the following paragraphs, that claim was presented in a perfunctory

  and incomplete fashion and, for all intents and purposes, did not amount to a claim at all.
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         Henry was appointed to represent Clark in state habeas proceedings in April 2000.

  Exhibit 1 (Affidavit of Craig Henry) at para. 3. In preparing Clark’s state habeas application,

  filed July 25, 2002, Henry spent a mere five hours interviewing mitigation witnesses and

  obtained only a single affidavit to support the claim – an affidavit from Clark’s mother, Cleta

  Barrington. Exhibit 1 at paras. 5, 8. On October 1, 2003, the CCA adopted the trial court’s

  findings of fact and conclusions of law and denied Clark relief. Ex parte Clark, No. 55,996-01

  (Tex. Crim. App. Oct. 1, 2003) (unpublished).

         On October 30, 2003, Henry was appointed to represent Clark in proceedings before this

  Court. Order, Oct. 30, 2003, ECF No. 2.       Four months later, on March 2, 2004, Henry filed

  Clark’s petition for a writ of habeas corpus. Pet. Writ Habeas Corpus, ECF No. 4. In the

  nineteen months that had passed since his filing of Clark’s state habeas application, Henry failed

  to obtain any additional witness statements, and there is no evidence to indicate he conducted

  any further investigation of the claim. As was the case in the state habeas application, the claim

  raised in federal court pursuant to Wiggins v. Smith, 539 U.S. 510 (2003), was supported by a

  single witness affidavit from Clark’s mother. Pet. Writ Habeas Corpus Ex. 4, ECF No. 4..

         Three weeks after filing the petition, Henry filed a sealed motion that asked the Court to

  appoint a mitigation specialist. ECF No. 7. This was the first and last time that Henry asked the

  Court to authorize any funds for any purpose. Funds were authorized, and Henry hired Shelli

  Schade, a mitigation specialist with expertise in conducting a Wiggins investigation.

         Respondent filed a motion for summary judgment on August 11, 2004. Resp’t’s Answer

  & Mot. Summ. J., ECF Nos. 15, 16. On November 15, 2004, Henry responded to Respondent’s

  motion for summary judgment. Pet’r’s Resp., ECF No. 19. By the time Henry filed this

  response, Ms. Schade, the mitigation expert, had completed a thirty-page social history report



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  based on her review of Clark’s records and interviews with five of Clark’s family members and

  letters from additional, unidentified family members. Henry attached this report to his response,

  and attached as well an affidavit from trial counsel Bobby Mims in which Mims admitted that

  neither he nor co-counsel Kenneth Nash made any attempt to investigate or present evidence of

  mitigating circumstances at Clark’s trial. While including the Schade report and Mims affidavit

  in his pleading, the response filed by Henry contains no indication that Henry had retained a

  mental health expert to evaluate Clark; and in fact, the pleading suggests that Henry did not have

  Clark evaluated by any type of mental health professional.

         This Court denied relief. The Court found that trial counsel’s performance at Clark’s trial

  was deficient, but the Court further held that Henry had not demonstrated that Clark was

  prejudiced by trial counsel’s deficiency.    Mem. Op. 10, ECF No. 21.         The Court granted

  Respondent’s motion for summary judgment but gave Clark a certificate of appealability on the

  claim. Id.; Order Granting Mot. COA, ECF No. 25.

         On appeal, a central issue before the Fifth Circuit was whether the Court could consider

  the Schade Report and Mims affidavit when assessing prejudice. That court, believing it was

  bound to do so by the Supreme Court’s decision in Cullen v. Pinholster, 131 S. Ct. 1388 (2011),

  ignored the Schade Report and Mims affidavit and considered only the evidence that was

  presented to the state court – i.e., the statement from Cleta Barrington, Clark’s mother – in

  assessing prejudice. Clark v. Thaler, 673 F.3d 410, 419-20 (5th Cir. 2012). In other words,

  Henry’s failure to present the mitigating evidence contained in the Schade report and the Mims

  affidavit to the state habeas court prevented the Fifth Circuit from considering this important

  evidence – evidence that transformed Clark’s Wiggins clam to such a degree that it was no longer




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  the claim presented to the state habeas court – in its review of whether Clark’s Sixth Amendment

  right to counsel had been violated.

         Fifteen days after the Fifth Circuit affirmed the district court’s decision denying Clark

  relief on his Wiggins claim, the Supreme Court handed down its decision in Martinez v. Ryan,

  132 S. Ct. 1309 (2012). Under Martinez, “a procedural default will not bar a federal habeas

  court from hearing a substantial claim of ineffective assistance at trial if, in the initial review

  collateral proceeding, there was no counsel or counsel in that proceeding was ineffective.”

  Martinez v. Ryan, 132 S. Ct. 1309, 1320 (2012). Though he clearly provided Clark ineffective

  assistance during state habeas, and though that ineffectiveness barred the Fifth Circuit from

  considering substantial mitigating evidence – evidence that arguably made the Wiggins claim a

  different claim than the one presented to the state habeas court – Henry filed no motion to vacate

  the Fifth Circuit’s opinion or any other pleading arguing the applicability of Martinez. Further,

  the petition for a writ of certiorari Henry filed on May 29, 2012 did not contain an argument

  based on Martinez and, in fact, made no mention of Martinez at all.

         Not until August 21, 2013 did Henry inform any court that because of Martinez and the

  Supreme Court’s subsequent ruling in Trevino v. Thaler, 133 S. Ct. 1911 (2013) – which

  announced the holding of Martinez is applicable to Texas cases – other counsel should be

  appointed “to ascertain whether [he] committed IAC at the state level.” Exhibit 2 (Transcript of

  August 21, 2013 hearing to set execution date) at 10; see also Juniper v. Davis, 737 F.3d 288,

  290 (4th Cir. 2013) (holding the petitioner was entitled to independent counsel in federal habeas

  proceedings to investigate and pursue the ineffectiveness of state habeas counsel pursuant to

  Martinez).




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         Henry should have asked this Court to appoint new counsel as soon as the Supreme Court

  handed down its opinion in Martinez. Had he done so, and had this Court then appointed new

  counsel (as it did when asked to do so in May 2014), new counsel could have filed a motion to

  vacate the Fifth Circuit’s opinion (see infra Part II), motion for leave to file a petition for

  rehearing (the period for filing a timely petition for rehearing expired March 19), or a motion to

  stay the mandate (mandate issued on March 27). Henry’s failure to do so, coupled with the

  substantial likelihood that doing so would have enabled new counsel to develop and present the

  amended Wiggins claim counsel now seeks to raise (attached as Exhibit 3) and have the claim

  and all the supporting evidence heard by this Court and by the Fifth Circuit Court of Appeals,

  constitute the extraordinary circumstances necessary to justify relief pursuant to Rule 60(b)(6).

         I.      Henry should have asked this Court to appoint new counsel as soon as
                 Martinez was handed down.

         “[A] lawyer shall not represent a person if the representation of that person reasonably

  appears to be or become adversely limited … by the lawyer’s … own interests.”                  Tex.

  Disciplinary Rules Prof’l Conduct R. 1.06(b)(2). “Loyalty to a client is impaired … in any

  situation when a lawyer may not be able to consider, recommend or carry out an appropriate

  course of action for one client because of the lawyer’s own interests….” Id. at 1.06 cmt. 4. “The

  lawyer’s own interests should not be permitted to have adverse effect on representation of a

  client….” Id. at 1.06 cmt. 5.

         Working on Texas capital cases apparently constitutes a substantial portion of Craig

  Henry’s practice.1 A finding by this Court that he provided ineffective assistance to Clark could




         1
           In addition to representing Troy Clark in state and federal habeas proceedings, Henry
  currently represents Micah Crofford Brown, No. AP-77,019, in direct appeal proceedings,
  previously represented William Speer in state habeas proceedings, Nos. WR-59,101-01 and WR-

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  result in his not being allowed to serve as lead trial counsel in any more capital cases, lead

  appellate counsel in the direct appeal of any more capital cases, or as state habeas counsel in any

  more capital cases. See Tex. Code Crim. Proc. art. 26.052(d)(2)(C), (d)(3)(C); Procedures

  Regarding Eligibility for Appointment of Attorneys as Counsel Under Article 11.071, Section

  2(f),        Code    of     Criminal      Procedure       at    para.      8,     available      at

  http://www.courts.state.tx.us/courts/pdf/ProceduresCapitalWritsApptList.pdf. In other words, a

  finding that Henry was ineffective would result in his not being permitted to do the type of work

  that currently represents a large component of his practice.

          Henry’s continued representation of Clark therefore became fatally afflicted by a conflict

  of interest on March 20, 2012. On that date, the Supreme Court issued its opinion in Martinez

  and articulated an exception to the Coleman doctrine; that exception rendered Henry’s

  ineffectiveness during Clark’s state habeas relevant to the federal habeas proceedings, because

  Henry’s ineffectiveness in the state habeas proceedings could, pursuant to Martinez, provide a

  means through which the Schade report and the Mims affidavit could be considered by the Fifth

  Circuit in assessing whether Clark had been prejudiced by his trial counsel’s ineffectiveness.

  But in order to invoke this exception created by Martinez, Henry would have had to concede that

  he himself had been ineffective during state habeas proceedings; but that concession, as

  discussed above, would have disqualified him from further capital work. In short, Henry’s own

  reputational, professional, and pecuniary interest in not being found to have provided ineffective

  assistance prevented him from representing Clark zealously and pursuing his client’s best

  interests.    His ability to represent Clark compromised, Henry should have immediately asked

  this Court to appoint new counsel.


  59,101-02, and previously represented Julius Jerome Murphy in direct appeal proceedings, No.
  AP-73,194.

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         Henry must have realized that there was at least a possibility that this Court or the Fifth

  Circuit would find he provided Mr. Clark ineffective assistance during state habeas proceedings

  if he made the issue relevant by arguing the applicability of Martinez. See Exhibit 2, at 10-11.

  As is true for trial counsel, the standard announced in Strickland v. Washington, 466 U.S. 668

  (1984), is the appropriate one by which to determine whether state habeas counsel provided

  ineffective assistance. Martinez, 132 S. Ct. at 1318. Prevailing professional norms require post-

  conviction counsel “to conduct a thorough and independent investigation relating to the issues of

  both guilt and penalty.” Am. Bar Ass’n, Guidelines for the Appointment and Performance of

  Defense Counsel in Death Penalty Cases, Guideline 10.7 (A) (rev. ed. 2003), reprinted in 31

  Hofstra L. Rev. 913, 1027 (2003) [hereinafter ABA Guidelines]. “It is necessary to locate and

  interview the client’s family members (who may suffer from some of the same impairments as

  the client), and virtually everyone else who knew the client and his family, including neighbors,

  teachers, clergy, case workers, doctors, correction, probation, or parole officers, and others.” Id.

  at Guideline 10.7 (A) cmt. The multi-generational investigation of a client’s family that counsel

  is to conduct is to extend “as far as possible vertically and horizontally” including “at least three

  generations.” ABA Guidelines, Guideline 10.7 (A) cmt. & n.216.2



         2
            While the revised ABA guidelines were adopted in February 2003, they “simply explain
  in greater detail than the 1989 Guidelines the obligations of counsel to investigate mitigating
  evidence.” Hamblin v. Mitchell, 354 F.3d 482, 487 (6th Cir. 2003). The Supreme Court has
  consistently used the ABA’s standards and guidelines in capital cases to assess the performance
  of trial counsel who prepared their cases before the relevant ABA publications had been issued.
  In Strickland, the Court cited standards published by the ABA in 1980 when assessing trial
  counsel’s performance in 1976-77. In Wiggins, the Court cited the 1989 ABA Guidelines when
  assessing trial counsel’s performance in 1988-89. In Rompilla, the Court used multiple ABA
  publications from 1980, 1989, and 2003, to assess deficiencies in a 1988 trial. Finally, in Nixon
  v. Florida, 543 U.S. 175 (2004), the Court used the 2003 Guidelines to assess performance in
  1984-85. Moreover, the 1989 ABA Guidelines similarly required counsel to begin investigation
  immediately upon counsel’s entry into the case and to “discover all reasonably available
  mitigating evidence.” 1989 Guidelines, Guideline 11.4.1. The 1989 Guidelines also required

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         Henry’s affidavit, Exhibit 1, reveals he spent only five hours interviewing mitigation

  witnesses while preparing Clark’s state habeas application – not even remotely what he was

  obligated to spend in order to act in accordance with prevailing professional norms. Had he

  acted as he was professionally required to act, he would have learned not only the information

  contained in the Schade report, but also all of the other mitigating evidence contained in the

  amended claim undersigned counsel now seeks to raise, Exhibit 3.

         Prevailing professional norms also required Henry to “identify mental-health claims” and

  select “expert witnesses … with specialized training or experience in a particular subject matter,”

  including but not limited to “[m]edical doctors, psychologists, toxicologists, pharmacologists,

  social workers and persons with specialized knowledge of medical conditions, mental illness and

  impairments, substance abuse, physical, emotional and sexual mistreatment, trauma and the

  effects of such factors on the client’s development and functioning.”             ABA Guidelines,

  Guideline 10.15.1 cmt., at B; ABA Supplementary Guidelines, Guideline 10.11(E)(1)(a). Henry

  did not do what was required, and consequently did not learn what he could have learned – facts

  demonstrating Clark was prejudiced by the ineffectiveness of his trial counsel.

         Had Henry spent the time and effort required by professional norms interviewing Clark’s

  family members, he would have learned the true extent of Clark’s mother’s substance abuse and

  that she abused alcohol and drugs while pregnant with Clark. He would have been alerted to the

  need to have Clark evaluated by a mental health professional, who like Dr. Joan Mayfield, would

  have likely concluded that the deficits in Clark’s functioning are “consistent with the research for




  counsel to retain experts for investigation and “preparation of mitigation.” 1989 Guidelines,
  Guideline 11.4.1.(7).


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  children who have been diagnosed with Fetal Alcohol Syndrome … and Fetal Alcohol

  Effects…..” Exhibit 3 at Exhibit D para. 54.

         Henry’s deficiencies prejudiced Clark in that they prevented the state habeas court and,

  subsequently, this Court and the Fifth Circuit Court of Appeals from considering the substantial

  wealth of mitigating evidence contained in the amended claim counsel now seeks to raise when

  deciding whether Clark received ineffective assistance from trial counsel.

         II.     Had Henry advocated zealously for Clark, there is a substantial likelihood
                 the Fifth Circuit’s judgment would have been vacated.

         When the Supreme Court handed down its opinion in Martinez on March 20, 2012, Clark

  was similarly situated to Carlos Ayestas. Like Clark, Ayestas raised a claim pursuant to Wiggins

  in his state habeas application. The claim Ayestas raised in the state habeas court contained only

  a small portion of the evidence contained in the one raised in his federal habeas petition. Ayestas

  v. Thaler, No. 4:09-cv-02999, 2011 WL 285138, at *4-7 (S.D. Tex. Jan. 26, 2011). Just as the

  Fifth Circuit did in Clark, the district court in Ayestas held it was barred from considering the

  unexhausted evidence presented in Ayestas’s federal petition. Id. The Fifth Circuit denied

  Ayestas a certificate of appealability on the claim. Ayestas v. Thaler, 462 F. App’x 474, 480 (5th

  Cir. 2012), vacated, 133 S. Ct. 2764 (2013).

         Unlike Henry, counsel for Ayestas filed a petition for rehearing en banc. While that

  petition was pending, the Supreme Court issued its opinion in Martinez. Accordingly, two days

  after the Supreme Court handed down Martinez, counsel for Ayestas filed in the Fifth Circuit a

  Motion to Vacate and Remand in Light of Martinez v. Ryan, arguing that Ayestas should be

  permitted to return to district court to re-litigate the claim so that the district court and the Fifth

  Circuit could consider the evidence previously considered procedurally barred. In Ibarra v.

  Thaler, 687 F.3d 222 (5th Cir. 2012), however, the Fifth Circuit had held that Martinez was not


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  applicable to Texas cases. Consequently, on the authority of Ibarra, the Fifth Circuit denied

  Ayestas’s motion to vacate and remand. Ayestas v. Thaler, 475 F. App’x 518, 518 (5th Cir.

  2012). Thereafter, counsel for Ayestas filed a Petition for a Writ of Certiorari in the Supreme

  Court that presented the question of whether Martinez applied in Texas.

         The Supreme Court answered that question on May 28, 2013 when it handed down its

  opinion in Trevino v. Thaler, 133 S. Ct. 1911 (2013). The Court held that Martinez applies in

  Texas. Trevino v. Thaler, 133 S. Ct. 1911, 1921 (2013). Six days later, June 3, 2013, the

  Supreme Court granted Ayestas’s Petition for a Writ of Certiorari, vacated the Fifth Circuit’s

  judgment, and remanded the case to the Fifth Circuit for further consideration in light of Trevino.

  Ayestas v. Thaler, 133 S. Ct. 2764 (2013). The Supreme Court issued GVR orders in five other

  Texas cases that day – Washington v. Thaler, Balentine v.Thaler, Haynes v. Thaler, Gates v.

  Thaler, and Newbury v. Thaler. In light of the Supreme Court’s order, the Fifth Circuit granted

  Ayestas’s motion to vacate and remanded the case to district court. Ayestas v. Stephens, 553 F.

  App’x 422, 423 (5th Cir. 2014).

         Clark’s case was similarly situated to that of Ayestas. It is therefore probable that, had

  Henry filed a motion to vacate judgment in the Fifth Circuit as Ayestas’s counsel did for his

  client, the Supreme Court would have vacated the Fifth Circuit’s judgment in Clark’s case just as

  it did in that of Ayestas, and that the Fifth Circuit would subsequently have vacated its prior

  judgment as was done for the similarly situated Carlos Ayestas. But Henry’s own self-interest in

  not being found ineffective prevented him from pursuing the strategy employed by counsel for

  Ayestas; it prevented him from zealously advocating on behalf of his client.




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         III.    Rule 60(b)(6) is an appropriate vehicle through which Clark should now be
                 allowed to seek relief.

         Rule 60(b) authority to reopen proceedings and reconsider a denial of a petition for writ

  of habeas corpus is equitable and subject to the Court’s discretion. See Balentine v. Thaler, 626

  F.3d 842, 846 (5th Cir. 2010) (“Rule 60(b)(6) is a grand reservoir of equitable power to do

  justice in a particular case when relief is not warranted by the preceding clauses…”) (emphasis

  added). To demonstrate “any other reason justifying relief” under Rule 60(b)(6), a petitioner

  must show “extraordinary circumstances.” See Gonzalez v. Crosby, 545 U.S. 524, 536 (2005).

         The Fifth Circuit has delineated eight factors “that should inform the district court’s

  consideration of a motion under Rule 60(b),” including: (1) that final judgments should not

  lightly be disturbed; (2) that the Rule 60(b) motion is not to be used as a substitute for appeal; (3)

  that the rule should be liberally construed in order to achieve substantial justice; (4) whether the

  motion was made within a reasonable time; (5) whether if the judgment was a default or a

  dismissal in which there was no consideration of the merits the interest in deciding cases on the

  merits outweighs, in the particular case, the interest in the finality of judgments, and there is

  merit in the movant's claim or defense; (6) whether if the judgment was rendered after a trial on

  the merits the movant had a fair opportunity to present his claim or defense; (7) whether there are

  intervening equities that would make it inequitable to grant relief; and (8) any other factors

  relevant to the justice of the judgment under attack. These factors are to be considered in the

  light of the great desirability of preserving the principle of the finality of judgments. Seven Elves

  v. Eskanazi, 635 F.2d 396, 402 (5th Cir. 1981) (citing United States v. Gould, 301 F.2d 353, 355-

  56 (5th Cir. 1962)). These factors strongly weigh in favor of granting Clark the relief he

  requests.




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         Clark’s request for relief under Rule 60 warrants a brief discussion of the case of

  Anthony Haynes. Prior to Martinez, Haynes raised an unexhausted Wiggins claim in his federal

  habeas petition. The district court held it was barred from adjudicating the merits of the claim.

  Haynes v. Quarterman, No. 4:05-cv-03424, 2007 WL 268374, at *8 (S.D. Tex. Jan. 25, 2007),

  rev’d on other grounds, 561 F.3d 535 (5th Cir. 2009). (Alternatively, the court denied the claim

  on the merits. Id. at *9.) The Fifth Circuit Court of Appeals agreed with the district court’s

  holding that the claim was procedurally barred. Haynes v. Quarterman, 526 F.3d 189, 195-96

  (5th Cir. 2008). Haynes’ execution was set for October 28, 2012. On September 24, 2012,

  Haynes filed a motion pursuant to Rule 60(b)(6) asking the district court to reopen proceedings

  in light of Martinez and stay Haynes’s execution. Relying on the Fifth Circuit’s opinion in

  Ibarra and finding that Martinez itself does not constitute an extraordinary circumstance, the

  district court denied Haynes’ motion on October 3, 2012. Haynes v. Thaler, No. 4:05-cv-03424,

  2012 WL 4739541, at *4-6 (S.D. Tex. Oct. 3, 2012).          Haynes asked the Fifth Circuit for a

  certificate of appealability but was denied one on October 15, 2012. Haynes v. Thaler, 489 F.

  App’x 770, 772 (5th Cir. 2012). But the Supreme Court then stayed Haynes’ execution and, on

  June 3, 2013, granted his petition for writ of certiorari, vacated the Fifth Circuit’s judgment, and

  remanded his case to the Fifth Circuit.     Haynes v. Thaler, 133 S. Ct. 2764 (2013). The Fifth

  Circuit remanded his case to the district court to reconsider its denial of his Rule 60(b) motion.

  Haynes v. Stephens, No. 12-70030, 2014 WL 3703996, at *1 (5th Cir. July 28, 2014).

         Although the district court subsequently found that Rule 60 relief is not available for

  Haynes, and the Fifth Circuit ruled in Diaz v. Stephens, 731 F.3d 370 (5th Cir. 2013)3 that




         3
           While the case of Justen Hall is easily distinguishable from Clark’s, a panel of the Fifth
  Circuit of Appeals in an August 27, 2014 unpublished opinion, seems to affirm that the panel

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  Martinez and Trevino do not by themselves constitute the extraordinary circumstances required

  for Rule 60 relief, neither of those developments should preclude Clark from obtaining relief

  under Rule 60(b), because Clark’s claim is significantly different from that presented by either

  Haynes or Diaz. Unlike Haynes and Diaz, counsel for Clark does not argue that the change in

  decisional law announced in Martinez and made applicable to Texas by Trevino itself constitutes

  the extraordinary circumstance required for Rule 60(b) relief.         Instead, the extraordinary

  circumstance arises from the fact that Henry remained counsel of record for Clark before both

  this Court and the state habeas court for seventeen months following the Supreme Court’s

  decision in Martinez despite the fact that his professional, reputational, and pecuniary interests

  became adverse to his client’s best interests the very moment the Martinez opinion was handed

  down.

          “The existence of a conflict of interest on the part of the movant’s attorney when the

  judgment as entered can qualify as an extraordinary case justifying Rule 60(b)(6) relief.” Ames

  v. Miller, 184 F. Supp. 2d 566, 575 (N.D Tex. 2002). Once Martinez was decided, Henry had a

  professional ethical obligation to withdraw from further representation of Clark, and had he acted

  as he should have and immediately asked the court to appoint new counsel, new counsel would

  have filed a motion to vacate, and as the procedural history of the Ayestas case makes clear, it is

  probable Clark’s claim would have been remanded to this Court just as the Ayestas case was

  remanded to the district court. Henry’s interests were in conflict with Clark’s before the Fifth

  Circuit issued its mandate. Preventing Clark from receiving the opportunity to have his claim

  reviewed on the merits would constitute a gross miscarriage of justice, and his motion for relief

  under Rule 60(b) should therefore be granted so as to avoid this injustice.


  does not believe Haynes has altered the holding in Diaz. Hall v. Stephens, No. 14-70013 (5th
  Cir. Aug. 27, 2014).

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         IV.      The amended claim Clark seeks to raise is not a successive petition.

         The successive petition requirements in 28 U.S.C. § 2244(b) only apply to “applications”

  for habeas corpus. See Gonzalez, 545 U.S. at 530. A Rule 60(b) motion brings a prohibited

  claim when it: (1) adds a new ground for relief or (2) attacks the federal court’s prior resolution

  of the claim on the merits. Id. at 530-32. Clark’s motion meets the Gonzalez criteria because it

  asks the Court to reopen a claim that was presented in his petition for a writ of habeas corpus.

  His petition is not successive.

                           CONCLUSION AND PRAYER FOR RELIEF

               For the foregoing reasons, Mr. Clark requests that the Court grant his motion for

     relief from judgment pursuant to Fed. R. Civ. P. 60(b)(6) and permit his petition for a

     writ of habeas corpus to be amended by the amended claim attached to this motion and

     permit further briefing on the merits of the claim.

                                        Respectfully submitted,




                 s/ David R. Dow                               s/ Jeffrey R. Newberry
          _________________________                        __________________________
                   David R. Dow                                 Jeffrey R. Newberry
             Texas Bar No. 06064900                           Texas Bar No. 24060966
         University of Houston Law Center                     Texas Innocence Network
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               Fax (713) 743-2131                                Fax (713) 743-2131




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                                 CERTIFICATE OF SERVICE

             I certify that on Friday, September 19, 2014, a copy of the foregoing pleading was
     electronically served on counsel for Respondent, Stephen M. Hoffman, via an email to
     Stephen.hoffman@texasattorneygeneral.gov by the electronic case filing system of the
     Court.


                                                                 s/ Jeffrey R. Newberry
                                                                 ____________________
                                                                 Jeffrey R. Newberry



                              CERTIFICATE OF CONFERENCE

            I certify that I have conferred with opposing counsel, Stephen M. Hoffman, in a
     good faith attempt to resolve the matter without court intervention, and the motion is
     opposed.

                                                                 s/ Jeffrey R. Newberry
                                                                 ____________________
                                                                 Jeffrey R. Newberry




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